Case 2:10-md-02179-CJB-DPC Document 4767-16 Filed 11/30/11 Page1lof3

EXHIBIT I
Case 2:10-md-02179-CJB-DPC Document 4767-16 Filed 11/30/11 Page 2of3

UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF LOUISIANA

IN RE: OIL SPILL by the OIL RIG § MDL No. 2179
“DEEPWATER HORIZON?” in the §
GULF OF MEXICO, § SECTION: J
on APRIL 20, 2010 §
§ JUDGE BARBIER
Applies to: §
§ MAG. JUDGE SHUSHAN
Allcases §
and No. 10-2771, No. 10-4536, No. 11- §

1054, and No. 11-1986

AFFIDAVIT OF DONALD GODWIN

THE STATE OF TEXAS _ )
)
COUNTY OF HARRIS +)

BEFORE ME, the undersigned authority, on this day personally appeared Donald E.
Godwin who being duly sworn deposed on his oath as follows:

1. My name is Donald E. Godwin. I am more than twenty-one years
old, I have never been convicted of a crime involving moral turpitude, and
I am competent to provide this affidavit. All facts in this affidavit are true,
correct, and within my personal knowledge.

2. I am an attorney at the law firm of Godwin Ronquillo PC, licensed
to practice law in the State of Texas and I represent Halliburton Energy
Services, Inc. ("HESI") in this matter.

3, Attached to HESI's Motion for Summary Judgment Regarding
Indemnity Issues, and incorporated herein by reference, are three letters
(Exhibits E, F, and G) all of which are true and correct copies of letters
sent by me regarding this litigation.

EXECUTED on this the __— day of November, 2011.
Case 2:10-md-02179-CJB-DPC Document 4767-16 Filed 11/30/11 Page 3of3

FURTHER, AFFIANT SAYETH NOT.

Lut t-Arb——

Donald E. Godwin
fin
SWORN AND SUBSCRIBED TO BEFORE ME on this the j ) of November, 2011.

SOE", FALEEN HUNTER

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Ee i +3 Notary Public, State of Texas
“Sheen S My Commission Exp, 02-21-2014

rk hel te le
ty,

Notary Public in and for the
STATE OF TEXAS

1803003 v1-24010/0002 PLEADINGS
